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8                                UNITED STATES DISTRICT COURT
9                               SOUTHERN DISTRICT OF CALIFORNIA
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11    EPICENTRX, INC.,                                    Case No.: 20cv1058-JO (MSB)
12                                       Plaintiff,
                                                          ORDER GRANTING JOINT MOTION TO
13    v.                                                  CONTINUE THE DEADLINE TO
                                                          COMPLETE DEPOSITIONS
14    COREY A. CARTER,
                                                          OF FACT WITNESSES [ECF NO. 195]
15                                    Defendant.
16
17    AND RELATED COUNTERCLAIMS
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19
20          On May 18, 2022, the parties filed a “Joint Stipulated Motion to Amend
21    Scheduling Order [Docket No. 136] to Continue the Deadline for the Completion of
22    Depositions of Fact Witnesses to June 10, 2020.” (ECF No. 195.) They ask the Court to
23    continue their fact discovery deadline of May 25, 2022, until June 10, 2022, for the
24    limited purpose of completing depositions of fact witnesses. (Id. at 8.) In support, the
25    parties describe their discovery efforts to date, and contend that they “have additional
26    depositions noticed, notified and/or scheduled, but due to other cases, personal
27    obligations and the schedules of the witnesses and counsel, they are having difficulty
28    completing them prior to the cutoff of May 25, 2022.” (Id. at 2-4, 5.)
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                                                                                   21cv1558-JO (MSB)
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1           Having considered the parties’ joint motion and stipulation, and finding good
2     cause, the Court GRANTS the motion and APPROVES the stipulation. Accordingly,
3     the deadline to complete the depositions of fact witnesses is CONTINUED from May 25,
4     2022, until June 10, 2022.
5           All other deadlines and requirements remain unchanged.
6           IT IS SO ORDERED.
7     Dated: May 19, 2022
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